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                                   STATEMET OF FACTS

        Your affiant, Braden Ballantyne, is a Special Agent with the Federal Bureau of
Investigation (FBI), and has been so employed since January 2021. I am currently assigned to
the Los Angeles Field Office's Long Beach Resident Agency Joint Terrorism Task Force
(JTTF). My duties at the JTTF include investigating violations of the laws of the United States,
specifically investigations related to domestic and foreign terrorism.

        Currently, I am a tasked with investigating criminal activity in and around the United
States Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal law.
        The United States Capitol is secured twenty-four hours a day by United States Capitol
Police (USCP). Restrictions around the Capitol include permanent and temporary security
barriers and posts manned by USCP. Only authorized people with appropriate identification are
allowed access inside the Capitol. On January 6,2021, the exterior plaza of the Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on Tuesday, November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, temporary barricades and permanent barricades were in place around the exterior of
the Capitol. USCP were present and attempting to keep the crowd away from the Capitol
building as the proceedings were underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors
and windows of the Capitol were locked or otherwise secured. Members of the USCP attempted
to maintain order and to keep the crowd from entering the Capitol. However, around 2:00 p.m.,
individuals in the crowd forced entry into the Capitol. Some members of the crowd gained
access and entry to the Capitol by breaking windows and assaulting members of the USCP.
Others in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed t~and
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did-evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the Capitol
from the time he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of people present on the scene depicted evidence of violations
oflocal and federal law, including many people inside the U.S. Capitol building without
authority to be there. As set forth below, DANEAN KlMBERL Y MACANDREW was one of
the people inside the Capitol building without authority on January 6, 2021.

         The FBI received via legal process cell tower data indicating that certain cellular devices
were in and around the Capitol building during the riot of January 6, 2021. FBI Los Angeles
Field Intelligence Group conducted a review of all phone numbers in that dataset with area codes
resolving to Orange County (714,949, and 562). The data indicated that a device that was
assigned the phone number                   was in the vicinity of the Capitol building during the
riot of January 6, 2021.

       According to records later obtained via search warrant served on AT&T, the cellular
phone assigned phone number                    was identified as having used a cell site consistent
with providing service to a geographic area that included the interior of the Capitol building
during the riot of January 6, 2021. According to information from AT&T, the device assigned
phone number                   was present in the vicinity of the Capitol building between 2:38
p.m. and 3: 17 p.m. on January 6, 2021. The records obtained from AT&T revealed the phone
number                  was assigned to a Samsung Galaxy S10+ device, lMEI
3526891050704134, IMSI 932724049.

        Open source and social media information identified DANEAN KlMBERL Y
MACANDREW of Mission Viejo, California, as the person associated with phone number
          . In addition, law enforcement database checks revealed the number
resolves to DANEAN KlMBERL Y MACANDREW, with an address of
                           .

        I and another FBI agent interviewed MACANDREW at that address (her home) on
September 28,2021. During that interview, MACANDREW stated that a good contact number
for her was               .
        The defendant further stated she went to Washington, D.C., to hear former President
Trump speak on January 6, 2021. She said she marched to the Capitol after the speech. She
claimed Capitol police were letting people into the Capitol building and that she thought it was
okay to go inside the building. MACANDREW stated that she walked around inside the Capitol
building for a few minutes and then exited when Capitol police told people they had to leave.

       During the interview, MACANDREW confirmed she had an account on the social media
platform Gab, with an account identifier of "@D_Restored" and a screen name of "Danean."




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(Open source database checks corroborate that fact). When shown the following screenshot of a
Gab post from that account of a picture of a person in a gas mask, MACANDREW confirmed
that she posted the picture using that account.

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IMAGE 1: Screenshot of a post to MACANDREW's Gab account @D_Restored that included
the statement "] was at the Capitol 116.] took this photo. "

        MACANDREW also confirmed the screenshots below were from her Gab account. On
February 22, 2021, the following post on MACANDREW's Gab account included a statement
that "I was at the Capitol 116.I took this video. Capitol Police opened the doors, welcomed us in,
and stood aside as we wandered the hallways. Is this what an insurrection looks like? Share
this."




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IMAGES 2A, 2B: Screenshots of a post to MACANDREW's Gab account @D_Restored that
included the statement "I was at the Capitol 116.I took this video. . . "(The screenshots are of a
single post. The screenshot in image 2B bears the label "Edited, " and it appears the word
 "aimlessly" was inserted in the statement introducing the video.)

        In the comments section to that video, "Danean @D_Restored" explained the delay in
posting the video by stating "I know. I am expecting it. I was scared of it for weeks, so I didn't
post my videos. I finally stood up for truth. When I did, I wasn't scared anymore." This
comment was in response to a comment that agents are going to "surround your house and take
you to jail like they did that other guy."

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IMAGE 3: A screenshot from comments on a video posted to MACANDREW's Gab account
@D_Restored that included the statement "I was at the Capitol 116.I took this video. . . "




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        On April 19, 2021, agents compared footage from the Capitol's closed-circuit television
(CCTV) surveillance video system with the videos MACANDREW posted to her Gab account.
Agents located CCTV footage that showed what appear to be the same people and actions shown
in the videos MACANDREW posted to her Gab account. For example, a video posted on
MACANDREW's Gab account "@D_Restored" shows a man in a dark, hooded sweatshirt, dark
Under Armor beanie, and light-blue bandana (circled in blue below) who appears to be fist-
bumping with Capitol Police officers. That man is standing next to a woman who is wearing a
brown jacket and a red, white, and blue cap (also in the blue circle below), and is near a man
who is wearing a royal blue sweatshirt and dark baseball cap and holding a U.S. flag (circled in
green below). The following image is a screenshot from that video on MACANDREW's Gab
account:




IMAGE 4: Screenshotfrom a video posted to MACANDREW's Gab account

        CCTV footage taken from inside the Capitol also showed these three people and showed
the man in the light-blue bandana appear to fist-bump with Capitol Police. The CCTV footage (a
screenshot of which is show below) also captured a person who appears to be using a mobile
phone to take the video that was posted on MACANDREW's Gab account. The person shown
inside the Capitol in the screenshot below (circled in red), who is wearing a red baseball cap,
thick black jacket, and red scarf, appears to be recording the video (screenshotted above) that
was posted on MACANDREW's Gab account, based on the proximity and angle of the person
holding the phone relative to the people circled in blue and green in the screenshot above.




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IMAGE 5: Screenshotfrom CCTVfootage.

        The person circled in red above, who appears to be filming the people circled in blue and
green, has a stature and appearance consistent with MACANDREW's, based on my familiarity
with MACANDREW's stature and appearance from the interview conducted at her residence on
September 28,2021.
        Also, the mobile phone held by the person believed to be MACANDREW (circled in red)
in Image 5 above closely resembles the following image of a Samsung Galaxy S10+ depicted at
https:llwww.samsung.comlgloballgalaxy/galaxy-s10/:




As stated above, records obtained from AT&T revealed the phone number          (which
MACANDREW told me was a good contact number for her) was assigned to a Samsung Galaxy
S10+ device.
       In addition, agents used MACANDREW's driver's license photo to search for videos of
people at the Capitol on January 6, 2021, using facial-recognition software. The following
images of a person at the Capitol on January 6,2021 (who is wearing a red cap and red scarf like




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the person (circled in red in Image 5 above) who appears to be recording the video that was
posted on MACANDREW's           Gab account) closely resemble the person in MACANDREW's
driver's license photo, based on my comparison      of those images:




IMAGE 6A, 6B, 6C: Images of a person at the Capitol on January 6, 2021 closely resembling
MACANDREW's driver's license photo.

       Finally, during the interview on September 28,2021, MACANDREW showed me on a
map of the Capitol building and grounds where she believed she entered the Capitol building.
MACANDREW          said she believed she entered the building near where Capitol police were lined
up outside.

     Based on the foregoing, I respectfully submit that there is probable cause to believe that
DANEAN KIMBERLY MACANDREW violated 18 U.S.c. § 1752(a)(l) and (2), which makes
it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly,    and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a "restricted building"
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction   with an event
designated as a special event of national significance.

        There is also probable cause to believe that DANEAN KIMBERLY MACANDREW
violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly
utter loud, threatening,   or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly




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conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and to parade, demonstrate, or picket in any of the Capitol Buildings.



                                                    Special AgentBradenBaantyne
                                                    Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1.
by telephone, this 12th day ofNovember 2021.
                      Zia M. Faruqui
                      2021.11.12 15:54:00
                      -05'00'
ZIA M. FARUQUI
UNITED STATES MAGISTRATE JUDGE




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